          Case 1:23-cv-07602-DG-SJB Document 8 Filed 10/12/23 Page 1 of 2 PageID #: 19

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

  NORMANDY RAFAEL HERNANDEZ MARTINEZ,                               )
   individually and on behalf of all others similarly               )
                       situated,                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 23-cv-7602 DG-SJB
                                                                    )
  SKYLIGHT HOLDINGS 2 INC. d/b/a MARKET                             )
PLACE by KEY FOOD, and JUAN IGNACIO PEREZ
                                                                    )
    SR. and JUAN PEREZ JR., as individuals,
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SKYLIGHT HOLDINGS 2 INC. d/b/a MARKET PLACE by KEY FOOD
                                           (DOS ID#4249435), 617 5th Ave, Brooklyn, NY 11215
                                           Via Personal Service:
                                           SKYLIGHT HOLDINGS 2 INC. d/b/a MARKET PLACE by KEY FOOD, 615 5th Ave,
                                           Brooklyn, NY 11215
                                           JUAN IGNACIO PEREZ SR., 615 5th Ave, Brooklyn, NY 11215
                                           JUAN PEREZ JR., 615 5th Ave, Brooklyn, NY 11215

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Helen F. Dalton & Associates, P.C.
                                       Roman Avshalumov, Esq.
                                       80-02 Kew Gardens Road, Suite 601
                                       Kew Gardens, NY 11415




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                            Brenna Mahoney

                                                                             CLERK OF COURT

           10/12/2023                                                         s/Kimberly Davis
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 23-cv-7602 DG-SJB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
